                Case 3:21-cv-01694-CAB UNITED
                                        Document  2-1 Filed 09/29/21 PageID.13 Page 1 of 1
                                              STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA
Victor Manuel Robles                            ,                            )
                                                                             )
                                                                                                         '21CV1694 AJB
                      Plaintiff/Petitioner,                                  )
v.                                                                           )            CASE NO.
                                                                             )
0HUULFN*DUODQG$ttorneyGeneral of theUnited                             )
States; 'RQDOG::DVKLQJWRQ, Director,United                               )
StatesMarshals Service; &KDG:ROI,3XWDWLYH                                )
$FWLQJ Secretary of theDepartment ofHomeland                              )
Security; and Steven C.Stafford, United States                              )
Marshal for theSouthernDistrict of California,                             )
                                                                             )
                      Defendant/Respondent.

                               APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

The Undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus ad prosequendum to the
Respondents who have custody over the defendant and to produce the Defendant forthwith for arraignment before a United States
magistrate.

Name of Detainee:                Victor Manuel Robles
Date of Arrest:                  9/28/21
Detained at (custodian):

Detainee has been:               a)         (;) charged in this district by:
                                            ( ) Indictment ( ) Information (;) Complaint           ( ) Order to Show Cause
                                            Charging Detainee With: 2186&952,960
           or                    b)         ( ) arrested by federal authorities but a complaint has not yet been filed.

Detainee will:                   a)         ( ) return to the custody of detaining facility upon termination of proceedings
        or                       b)         ( ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary at the next magistrate calender hearing for arraignments forthwith.

                                                                                         V Ryan W. Stitt
                                                                                         Federal Defenders of San Diego, Inc.
                                                                                         Provisional Attorneys for Defendant

                                              WRIT OF HABEAS CORPUS AD PROSEQUENDUM

The above application is GRANTED/DENIED (circle one) Respondents is hereby ORDERED/NOT ORDERED (circle one) to
produce the named detainee for arraignment on ________________________ in courtroom _________.


__________
Date                                                                                                United States Magistrate Judge
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Please provide the following, if known:
      AKA(s) (if applicable):                                                                       Male                 Female 
     Booking or Fed. Reg. #:                                                                        DOB:
     Facility Address:                                                                              Race:
                                                                                                    FBI#:
     Facility Phone:
      Currently Incarcerated For:
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                                                                   RETURN OF SERVICE

Executed on                                by
                                                                                                               (Signature)
